                           UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN



        UNITED STATES OF AMERICA

                         v.                                            BOND REVOCATION

            ALEXANDER P. BEBRIS                                           Case No. 19-CR-2


HONORABLE WILLIAM C. GRIESBACH presiding                                        Time Called: 2:38 pm
Proceeding Held: August 20, 2021                                             Time Concluded: 2:43 pm
Deputy Clerk: Lori                                                                     Tape: Zoom
                                                                                             082021

Appearances:

UNITED STATES OF AMERICA by:                           Daniel R. Humble
ALEXANDER P. BEBRIS via video and by:                  Jason D. Luczak
US PROBATION OFFICE by:                                Brian Koehler
INTERPRETER: None                                      ☐ Interpreter Sworn
☒ Defendant consents to appear and proceed by video conference from the Brown County Jail.


Mr. Humble requests that defendant be detained and delivered to the Bureau of Prisons to begin his sentence.
Mr. Humble opposes self-surrender.
Mr. Luczak requests defendant be allowed to self-surrender as scheduled on 8/24/2021 in order to take care of
loose ends prior to reporting for sentence. Mr. Luczak informs the Court the defendant wishes to speak.
Defendant has been advised by counsel not to speak.
Mr. Bebris speaks against counsel’s advice and requests the court allow him to self-surrender as planned.
The Court finds the violations are severe. The request is DENIED.
Defendant will be detained pending transport to the Bureau of Prisons to begin his sentence.




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